Case 17-23732-GLT    Doc 91-2 Filed 01/03/19 Entered 01/03/19 13:47:30   Desc
                    Exhibit A Loan Documents Page 1 of 43



                                Exhibit [A]
              Case
Fill in thisCase      17-23732-GLT
                   17-23732-GLT
             information                       Doc
                                             Doc
                         to identify your case and 1991-2
                                                   this     FiledFiled
                                                        filing:        01/03/19
                                                                   10/24/17      Entered
                                                                              Entered    01/03/19
                                                                                      10/24/17    13:47:30
                                                                                               20:48:54     Desc
                                                                                                         Desc Main
                                                  Exhibit ADocument
                                                             Loan Documents  Page
                                                                      Page 3 of 49 2 of 43
Debtor 1
                    David M Wetzel
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2             Penny Lynn Wetzel
                    ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: Western District of Pennsylvania District of __________
                                                                                    (State)


                                                                                                                                         Check if this is an
Case number           17-23732-GLT
                    ___________________________________________

                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    
         No. Go to Part 2.
    ✔    Yes. Where is the property?
                                                                 
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put


                                                                 
                                                                      Single-family home                           the amount of any secured claims on Schedule D:
            207 Rex Road                                                                                           Creditors Who Have Claims Secured by Property:

                                                                 
      1.1. _________________________________________                  Duplex or multi-unit building
           Street address, if available, or other description

                                                                 
                                                                      Condominium or cooperative                   Current value of the Current value of the

                                                                 
                                                                      Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________

                                                                 
                                                                      Land                                          15,000.00
                                                                                                                   $________________    15,000.00
                                                                                                                                     $_________________

                                                                 
                                                                      Investment property
              Washington              PA      15301
             _________________________________________                                                             Describe the nature of your ownership

                                                                 
                                                                      Timeshare                                    interest (such as fee simple, tenancy by
             City                    State   ZIP Code
                                                                      Other __________________________________     the entireties, or a life estate), if known.
                                                                                                                    Joint tenant
                                                                                                                    Check if this is community property
                                                                 Who has an interest in the property? Check one.   __________________________________________

                                                                  Debtor 1 only
                                                                  Debtor 2 only
              Washington County
             _________________________________________

                                                                 
             County


                                                                  At least one of the debtors and another
                                                                 ✔ Debtor 1 and Debtor 2 only



                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




                                                                
    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put


                                                                
                                                                     Single-family home                            the amount of any secured claims on Schedule D:
      1.2. 784   Findley Street                                                                                    Creditors Who Have Claims Secured by Property.

                                                                
           ________________________________________                  Duplex or multi-unit building
           Street address, if available, or other description

                                                                
                                                                    Condominium or cooperative                     Current value of the     Current value of the

                                                                
                                                                     Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________

                                                                
                                                                     Land                                            3,000.00
                                                                                                                   $________________          3,000.00
                                                                                                                                            $_________________

                                                                
                                                                     Investment property
             Washinton               PA
             ________________________________________

                                                                
                                                                     Timeshare                                     Describe the nature of your ownership
             City                        State      ZIP Code
                                                                     Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                 Debtor 1 only
                                                                                                                    Joint tenant
                                                                                                                   __________________________________________

                                                                 Debtor 2 only
             Washington    County
             ________________________________________

                                                                                                                   Check if this is community property
             County
                                                                ✔

                                                                 At least one of the debtors and another
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                      (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




                                                                                                                                                 page 1 of ___
                                                                                                                                                            10
             Case
            Case  17-23732-GLT Doc
                 17-23732-GLT   Doc1991-2FiledFiled 01/03/19
                                                10/24/17      Entered
                                                           Entered    01/03/19
                                                                   10/24/17    13:47:30
                                                                            20:48:54     Desc
                                                                                      Desc Main
                               Exhibit ADocument
                                          Loan Documents       Page
                                                       Page 4 of 49 3 of 43



                                                                  
1.____
  3                                                               What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put


                                                                  
                                                                  ✔   Single-family home                                  the amount of any secured claims on Schedule D:
            796  Baird Avenue
            ________________________________________                                                                      Creditors Who Have Claims Secured by Property.

                                                                  
            Street address, if available, or other description        Duplex or multi-unit building
                                                                                                                          Current value of the      Current value of the
                                                                  
                                                                      Condominium or cooperative
                                                                                                                          entire property?          portion you own?

                                                                  
            ________________________________________                  Manufactured or mobile home
                                                                                                                            145,000.00
                                                                                                                          $________________           145,000.00
                                                                                                                                                    $_________________
                                                                  
                                                                      Land


                                                                  
            Washington              PA      15301
            ________________________________________
                                                                      Investment property
                                                                                                                          Describe the nature of your ownership

                                                                  
            City                            State      ZIP Code       Timeshare
                                                                                                                          interest (such as fee simple, tenancy by
                                                                      Other __________________________________            the entireties, or a life estate), if known.
                                                                                                                         Tenancy by the Entireties
                                                                                                                         __________________________________________
                                                                  Who has an interest in the property? Check one.
            Washington    County                                   Debtor 1 only
                                                                   Debtor 2 only
            ________________________________________


                                                                                                                           Check if this is community property
            County

                                                                  
                                                                   At least one of the debtors and another
                                                                  ✔ Debtor 1 and Debtor 2 only
                                                                                                                              (see instructions)
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  163,000.00
   you have attached for Part 1. Write that number here. ...................................................................................... 
                                                                                                                                                    $_________________



Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
   
         No
   ✔     Yes

                   Cadillac                                       Who has an interest in the property? Check one.
                                                                   Debtor 1 only
    3.1.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  
                    STS
            Model: ____________________________                                                                           Creditors Who Have Claims Secured by Property.

                                                                   Debtor 1 and Debtor 2 only
                                                                  ✔ Debtor 2 only
            Year:                  2009
                                  ____________                                                                            Current value of the      Current value of the
                                                                   At least one of the debtors and another
                                  120000
            Approximate mileage: ____________                                                                             entire property?          portion you own?


                                                                   Check if this is community property (see
            Other information:
            Condition: Good
                                                                                                                           3,300.00
                                                                                                                          $________________          3,300.00
                                                                                                                                                    $________________
                                                                      instructions)



   If you own or have more than one, describe here:
                   Chevrolet                                      Who has an interest in the property? Check one.
                                                                  
    3.2.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                   Debtor 2 only
                                                                  ✔ Debtor 1 only
                    Silverado
            Model: ____________________________                                                                           Creditors Who Have Claims Secured by Property.

                                                                   Debtor 1 and Debtor 2 only
            Year:                  2012
                                  ____________                                                                            Current value of the      Current value of the

                                                                   At least one of the debtors and another
                                  75000                                                                                   entire property?          portion you own?
            Approximate mileage: ____________


                                                                   Check if this is community property (see
            Other information:
            Condition: Good
                                                                                                                           9,000.00
                                                                                                                          $________________          9,000.00
                                                                                                                                                    $________________
                                                                      instructions)




                                                                                                                                                                   10
                                                                                                                                                              2 of __
                                                                                                                                                         page ___
             Case
            Case  17-23732-GLT Doc
                 17-23732-GLT   Doc1991-2FiledFiled 01/03/19
                                                10/24/17      Entered
                                                           Entered    01/03/19
                                                                   10/24/17    13:47:30
                                                                            20:48:54     Desc
                                                                                      Desc Main
                               Exhibit ADocument
                                          Loan Documents       Page
                                                       Page 5 of 49 4 of 43



                                                                              Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                       ____________________________                                                                                                     Do not deduct secured claims or exemptions. Put
  ____.    Make:
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                             ____________                                                                                               Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
                                                                                                                                                        $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                                                                                                                                                        Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________                                                                                                           the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                             ____________                                                                                               Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
                                                                                                                                                        $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   
        No
   ✔    Yes


                        Harley Davidson                                      Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.1.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
                   Road King Classic                                          ✔
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.


                                                                              Debtor 1 and Debtor 2 only
            Year:        2008
                        ____________

                                                                              At least one of the debtors and another
                                                                                                                                                        Current value of the             Current value of the
            Other information:                                                                                                                          entire property?                 portion you own?
            Condition: Good; Mileage:
                                                                               Check if this is community property (see                                 8,450.00
                                                                                                                                                        $________________                 8,450.00
                                                                                                                                                                                         $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.2.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.

                                                                              Debtor 1 and Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the

                                                                              At least one of the debtors and another
                                                                                                                                                        entire property?                 portion you own?
            Other information:


                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




   you have attached for Part 2. Write that number here ............................................................................................................................
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      20,750.00
                                                                                                                                                                                        $_________________




                                                                                                                                                                                                   3      10
                                                                                                                                                                                              page ___ of __
              Case
             Case  17-23732-GLT Doc
                  17-23732-GLT   Doc1991-2FiledFiled 01/03/19
                                                 10/24/17      Entered
                                                            Entered    01/03/19
                                                                    10/24/17    13:47:30
                                                                             20:48:54     Desc
                                                                                       Desc Main
                                Exhibit ADocument
                                           Loan Documents       Page
                                                        Page 6 of 49 5 of 43


Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.


    No
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Kitchen appliances, furniture - $500.00, Dining room furniture, china - $750.00, living room furniture -

   
                             $400.00, bedroom #1 furniture - $400.00, bedroom #2 furniture - $400.00, 3 televisions - $750.00,
   ✔ Yes. Describe. ........
                             stereo - $100.00, lawn furniture , mower, tools, misc. - $1,400.00
                                                                                                                                                                                                      4,700.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music

   
             collections; electronic devices including cell phones, cameras, media players, games

   Yes. Describe. ........
   ✔ No
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;

   
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

    Yes. Describe. .........
   ✔ No
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms


   
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment

    Yes. Describe. .........
   ✔ No
                                                                                                                                                                                                     0.00
                                                                                                                                                                                                    $___________________

11. Clothes


    No
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

   
                              Men's clothing - $900.00
   ✔ Yes. Describe. ......... Women's clothing - $1,100.00                                                                                                                                            2,000.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   
        No                       Wife - rings, chains & ear rings
   ✔    Yes. Describe. .........                                                                                                                                                                      300.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   
   ✔    No
        Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   
   ✔    No
        Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............


   for Part 3. Write that number here ........................................................................................................................................................ 
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        7,000.00
                                                                                                                                                                                                    $______________________



                                                                                                                                                                                                                    4      10
                                                                                                                                                                                                               page ___ of __
             Case
            Case  17-23732-GLT Doc
                 17-23732-GLT   Doc1991-2FiledFiled 01/03/19
                                                10/24/17      Entered
                                                           Entered    01/03/19
                                                                   10/24/17    13:47:30
                                                                            20:48:54     Desc
                                                                                      Desc Main
                               Exhibit ADocument
                                          Loan Documents       Page
                                                       Page 7 of 49 6 of 43


Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   
       No
   ✔   Yes .....................................................................................................................................................................   Cash: .......................      500.00
                                                                                                                                                                                                                    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   
   
       No
   ✔   Yes .....................                                             Institution name:


                       17.1. Checking account:
                                                                            Citizens 6872
                                                                            ___________________________________________________________________                                                                      500.00
                                                                                                                                                                                                                    $__________________

                       17.2. Checking account:                              ___________________________________________________________________                                                                     $__________________

                       17.3. Savings account:                               ___________________________________________________________________                                                                     $__________________

                       17.4. Savings account:                               ___________________________________________________________________                                                                     $__________________

                       17.5. Certificates of deposit:                       ___________________________________________________________________                                                                     $__________________

                       17.6. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.7. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.8. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.9. Other financial account:                       ___________________________________________________________________                                                                     $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   
   ✔   No
       Yes ..................                 Institution or issuer name:

                                              _________________________________________________________________________________________                                                                             $__________________
                                              _________________________________________________________________________________________                                                                             $__________________
                                              _________________________________________________________________________________________                                                                             $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
    Yes. Give specific
   ✔ No                                       Name of entity:                                                                                                                      % of ownership:

                                              _____________________________________________________________________                                                                ___________%                     $__________________
       information about
       them. ........................         _____________________________________________________________________                                                                ___________%                     $__________________
                                              _____________________________________________________________________                                                                ___________%                     $__________________




                                                                                                                                                                                                                                         10
                                                                                                                                                                                                                                    5 of __
                                                                                                                                                                                                                               page ___
            Case
           Case  17-23732-GLT Doc
                17-23732-GLT   Doc1991-2FiledFiled 01/03/19
                                               10/24/17      Entered
                                                          Entered    01/03/19
                                                                  10/24/17    13:47:30
                                                                           20:48:54     Desc
                                                                                     Desc Main
                              Exhibit ADocument
                                         Loan Documents       Page
                                                      Page 8 of 49 7 of 43


20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   
    Yes. Give specific
   ✔ No

                                         Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________       $__________________
                                         ______________________________________________________________________________________
                                                                                                                                      $__________________
                                         ______________________________________________________________________________________
                                                                                                                                      $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
    Yes. List each
   ✔ No



       account separately.                    Institution name:
       Type of account:
                                                                                                                                      $__________________
            401(k) or similar plan:          ___________________________________________________________________________________
                                                                                                                                      $__________________
            Pension plan:                    ___________________________________________________________________________________
                                                                                                                                      $__________________
            IRA:                             ___________________________________________________________________________________
                                                                                                                                      $__________________
            Retirement account:              ___________________________________________________________________________________
                                                                                                                                      $__________________
            Keogh:                           ___________________________________________________________________________________
                                                                                                                                      $__________________
            Additional account:              ___________________________________________________________________________________
                                                                                                                                      $__________________
            Additional account:              ___________________________________________________________________________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   ✔   No
      Yes ...........................                       Institution name or individual:

                                         Electric:           ______________________________________________________________________   $___________________
                                         Gas:                ______________________________________________________________________   $___________________
                                         Heating oil:        ______________________________________________________________________
                                                                                                                                      $___________________
                                         Rental unit:        ______________________________________________________________________
                                                                                                                                      $___________________
                                         Prepaid rent:       ______________________________________________________________________
                                                                                                                                      $___________________
                                         Telephone:          ______________________________________________________________________
                                                                                                                                      $___________________
                                         Water:              ______________________________________________________________________
                                                                                                                                      $___________________
                                         Rented furniture:   ______________________________________________________________________
                                                                                                                                      $___________________
                                         Other:              ______________________________________________________________________
                                                                                                                                      $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   ✔   No
      Yes ...........................   Issuer name and description:
                                         _______________________________________________________________________________________      $__________________
                                         _______________________________________________________________________________________      $__________________
                                         _______________________________________________________________________________________      $__________________

                                                                                                                                                        10
                                                                                                                                                   6 of __
                                                                                                                                              page ___
            Case
           Case  17-23732-GLT Doc
                17-23732-GLT   Doc1991-2FiledFiled 01/03/19
                                               10/24/17      Entered
                                                          Entered    01/03/19
                                                                  10/24/17    13:47:30
                                                                           20:48:54     Desc
                                                                                     Desc Main
                              Exhibit ADocument
                                         Loan Documents       Page
                                                      Page 9 of 49 8 of 43


24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   
   ✔   No
       Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   
   ✔   No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   
   ✔   No
       Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   
   ✔   No
       Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   
   ✔   No
       Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



                                                                                                                                                                       7     10
                                                                                                                                                                 page ___ of __
              Case
             Case  17-23732-GLT Doc
                  17-23732-GLT   Doc1991-2FiledFiled 01/03/19
                                                 10/24/17      Entered
                                                            Entered     01/03/19
                                                                    10/24/17     13:47:30
                                                                              20:48:54     Desc
                                                                                        Desc Main
                                Exhibit ADocument
                                           Loan Documents       Page
                                                        Page 10 of 49 9 of 43


31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   
   ✔    No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
                                                             _______________________________________________                                    ____________________________                         $__________________
                                                             _______________________________________________                                    ____________________________                         $__________________
                                                             _______________________________________________                                     ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive

   
   property because someone has died.


   
   ✔    No
        Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   
   ✔    No
        Yes. Describe each claim. .....................
                                                                                                                                                                                                       0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights


   
   to set off claims


   
        No                                                          Possible claim against Harley-Davidson for violation of Fair Debt Colletion Act
   ✔    Yes. Describe each claim. .....................
                                                                                                                                                                                                       Unknown
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   
   ✔    No
        Yes. Give specific information. ...........                                                                                                                                                    0.00
                                                                                                                                                                                                     $_____________________




   for Part 4. Write that number here ........................................................................................................................................................ 
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                       1,000.00
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .



   
37. Do you own or have any legal or equitable interest in any business-related property?


   
   ✔    No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

   
   
        No
        Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies


   
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices


   
        No
        Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
                                                                                                                                                                                                                    8 of __
                                                                                                                                                                                                               page ___
              Case
             Case  17-23732-GLT Doc
                  17-23732-GLT   Doc1991-2
                                         FiledFiled 01/03/19
                                                10/24/17      Entered
                                                           Entered     01/03/19
                                                                   10/24/17     13:47:30
                                                                             20:48:54     Desc
                                                                                       Desc Main
                               Exhibit ADocument
                                          Loan Documents      Page
                                                       Page 11 of 4910 of 43


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   
        No
        Yes. Describe .......
                                                                                                                                                                                                   $_____________________




   
41. Inventory


   
        No
        Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

   
   
        No
        Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________



   
43. Customer lists, mailing lists, or other compilations


   
        No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                
                      No
                      Yes. Describe.........
                                                                                                                                                                                                   $____________________



   
44. Any business-related property you did not already list


   
        No
        Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________


   for Part 5. Write that number here ........................................................................................................................................................ 
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.



   
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?


   
   ✔    No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   
        No
        Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
                Case
               Case  17-23732-GLT Doc
                    17-23732-GLT   Doc1991-2
                                           FiledFiled 01/03/19
                                                  10/24/17      Entered
                                                             Entered     01/03/19
                                                                     10/24/17     13:47:30
                                                                               20:48:54     Desc
                                                                                         Desc Main
                                 Exhibit ADocument
                                            Loan Documents      Page
                                                         Page 12 of 4911 of 43


48. Crops—either growing or harvested

     
     
           No
           Yes. Give specific
           information. ............                                                                                                                                                                           $___________________


     
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade


     
           No
           Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     
           No
           Yes ...........................
                                                                                                                                                                                                               $___________________



     
51. Any farm- and commercial fishing-related property you did not already list


     
           No
           Yes. Give specific
           information. ............                                                                                                                                                                           $___________________


     for Part 6. Write that number here ........................................................................................................................................................ 
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________




Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     
           No                        0.00000094 interest in gas lease of Miller Estate gas lease for 207 Rex Road, Washington, PA,
     ✔     Yes. Give specific Trailer
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  375.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                163,000.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    20,750.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               7,000.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           1,000.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               375.00
                                                                                                                + $________________
                                                                                                                                       Copy personal property total 
62. Total personal property. Add lines 56 through 61. ...................                                             29,125.00
                                                                                                                     $________________                                                                            29,125.00
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       192,125.00
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 12 of 43



                             Exhibit [B]




 403-NTL-V9
                Case
               Case  17-23732-GLT Doc
                    17-23732-GLT   Doc6391-2
                                           FiledFiled 01/03/19
                                                  05/23/18      Entered
                                                             Entered      01/03/19
                                                                      05/23/18     13:47:30
                                                                                11:02:49     Desc
                                                                                          Desc Main
                                 Exhibit A Document
                                            Loan Documents      Page
                                                          Page 1 of 3  13 of 43
Fill in this information to identify your case:

                  David M Wetzel
Debtor 1          __________________________________________________________________
                    First Name                Middle Name              Last Name
                  Penny Lynn Wetzel
Debtor 2           ________________________________________________________________
(Spouse, if filing) First Name                Middle Name              Last Name




                                                                                                                                                   Check if this is an
                                        ______________________
United States Bankruptcy Court for the:Western District of Pennsylvania District of __________
                                                                                   (State)
Case number         ___________________________________________
                     17-23732-GLT
 (If known)                                                                                                                                            amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                                12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that       Did you claim the property
                                                                                        secures a debt?                                       as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                               No
                                                                                        Retain the property and redeem it.                    Yes
          name:           Washington County Tax Claim Bureau

                                                                                        Retain the property and enter into a
         Description of          207 Rex Road
         property

                                                                                       
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                       ✔ Retain the property and [explain]:

                                                                                             ______________________________________
                                                                                             Pay over time allowed secured tax amount


         Creditor’s                                                                     Surrender the property.                               No
                                                                                        Retain the property and redeem it.
                           Ditech Financial LLC
                                                                                                                                              
         name:
                                                                                                                                              ✔ Yes

                                                                                        Retain the property and enter into a
         Description of          796 Baird Avenue
         property

                                                                                       
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                       ✔ Retain the property and [explain]:
                                                                                              Extend Payments Though Loan Modification
                                                                                             ______________________________________

         Creditor’s      Internal Revenue Service                                       Surrender the property.                               No
                                                                                        Retain the property and redeem it.                   
         name:
                                                                                                                                              ✔ Yes

                                                                                        Retain the property and enter into a
                                 Personal property, bank account
         Description of
         property

                                                                                       
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                       ✔ Retain the property and [explain]:

                                                                                             ______________________________________
                                                                                             Dtermine secured portion of tax claim and pay over time

         Creditor’s        Washington County Tax Claim Bureau                           Surrender the property.                               No
                                                                                        Retain the property and redeem it.                   
         name:
                                                                                                                                              ✔ Yes

                                                                                        Retain the property and enter into a
         Description of          784 Findley Street
         property

                                                                                        Retain the property and [explain]:
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        ✔

                                                                                             ______________________________________
                                                                                              Pay over time allowed secured amount


  Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                          page 1
             Case
            Case    17-23732-GLT Doc
                  17-23732-GLT                Doc 6391-2
                                                       FiledFiled  01/03/19
                                                              05/23/18       Entered
                                                                          Entered       01/03/19
                                                                                   05/23/18              13:47:30
                                                                                                   11:02:49        Desc Desc
                                                                                                                           Main
                                          Exhibit A Document
                                                        Loan Documents Page 2Page
                                                                              of 3   14  of  43
Debtor
               David M Wetzel & Penny Lynn Wetzel
              ______________________________________________________                                   17-23732-GLT
                                                                                Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                          Will the lease be assumed?

         Lessor’s name:                                                                                            No
                                                                                                                   Yes
         Description of leased
         property:


         Lessor’s name:                                                                                            No
                                                                                                                   Yes
         Description of leased
         property:


         Lessor’s name:                                                                                            No
         Description of leased                                                                                     Yes
         property:


         Lessor’s name:                                                                                            No
                                                                                                                   Yes
         Description of leased
         property:


         Lessor’s name:                                                                                            No
                                                                                                                   Yes
         Description of leased
         property:


         Lessor’s name:                                                                                           No
                                                                                                                  Yes
         Description of leased
         property:


         Lessor’s name:                                                                                           No
                                                                                                                  Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ David M Wetzel
         ___________________________________________           /s/ Penny Lynn Wetzel
                                                                  ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             05/23/2018
     Date _________________
                                                                        05/23/2018
                                                                   Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                        page 2
             Case
            Case    17-23732-GLT Doc
                 17-23732-GLT           Doc6391-2 FiledFiled 01/03/19
                                                         05/23/18      Entered
                                                                    Entered      01/03/19
                                                                             05/23/18       13:47:30
                                                                                       11:02:49       Desc
                                                                                                   Desc Main
               David M Wetzel & PennyExhibit A Document
                                      Lynn Wetzel  Loan Documents      Page
                                                                 Page 3 of 3  15 of 43  17-23732-GLT
 Debtor 1                                                           _                 Case number (if known)
               First Name   Middle Name    Last Name



                                               Continuation Sheet for Official Form 108
1) Creditors who have secured claims

Washington County Ta 796 Baird Avenue                           Has exemptions                      Repay allowed secure
x Claim Bureau                                                                                      d amount over time

ALLY                               2009 Cadillac STS            No exemptions                       surrender

Wells Fargo Dealer S 2012 Chevrolet Silve No exemptions                                             Redeem
ervices              rado

Harley Davidson Cred 2008 Harley Davidson No exemptions                                             Have current claim a
it Corp.              Road King Classic                                                             gainst Harley Davidso




  Official Form 108                           Statem ent of Intention for Individuals Filing Under Chapter 7
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 16 of 43



                             Exhibit [C]
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 17 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 18 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 19 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 20 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 21 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 22 of 43



                             Exhibit [D]
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 23 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 24 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 25 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 26 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 27 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 28 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 29 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 30 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 31 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 32 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 33 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 34 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 35 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 36 of 43



                             Exhibit [E]
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 37 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 38 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 39 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 40 of 43



                             Exhibit [F]
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 41 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 42 of 43
Case 17-23732-GLT Doc 91-2 Filed 01/03/19   Entered 01/03/19 13:47:30   Desc
                 Exhibit A Loan Documents   Page 43 of 43
